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 7                                 UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
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      AMIRALI JIWANI, an individual;               ) Case No.: 2:20-cv-06402-DSF-JEM
                                                   )
10                  Plaintiff,                     ) ORDER FOR DISMISSAL WITH
                                                   ) PREJUDICE
11           vs.                                   )
                                                   )
12                                                 )
      SOLENIS LLC., a Delaware limited liability   )
13    company, and DOES 1-25, inclusive,           )
                                                   )
14                  Defendants,                    )
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                                    ORDER FOR DISMISSAL WITH PREJUDICE
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